                     UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION
                         Case No. 1:15-cv-00109-MR

                                  )
 SANDRA M. PETERS, on behalf of herself
                                  )
 and all others similarly situated,
                                  )
                                  )                  PLAINTIFF’S
 Plaintiff,                       )                  SUPPLEMENTAL BRIEF IN
                                  )
 v.                               )                  SUPPORT OF HER MOTION
                                  )                  FOR CLASS
 AETNA INC., AETNA LIFE INSURANCE )                  CERTIFICATION
 COMPANY, and OPTUMHEALTH CARE )
 SOLUTIONS, INC.,                 )
                                  )
 Defendants.                      )
                                  )


      Plaintiff respectfully submits this supplemental brief in further support of her

motion for class certification (Dkt. No. 146), in light of the Fourth Circuit’s decision

vacating and remanding this Court’s denial of class certification and reversing its

grant of summary judgment to Defendants. See Peters v. Aetna Inc., 2 F.4th 199 (4th

Cir. 2021).

                                 INTRODUCTION

      This case is about Defendants’ uniform practice of secretly requiring plans

and plan members to pay Optum’s administrative fees by improperly

mischaracterizing those fees as medical expenses. In the prior class certification

briefing, Defendants erred in their characterizations of Plaintiff’s claims, the relevant




       Case 1:15-cv-00109-MR Document 256 Filed 09/01/21 Page 1 of 19
facts, and controlling law. They asserted that Plaintiff was challenging the entire

Aetna-Optum relationship, that this relationship had generated aggregate savings for

plans and members, and that determining “injury” and “damages” required an

individualized assessment of the entire claims history of each class member and

plan. With these erroneous mischaracterizations in mind, this Court denied class

certification on the ground that the class was not ascertainable and that there were

no common issues. It also granted Defendants summary judgment on Plaintiff’s

individual claims for related reasons.

      The Fourth Circuit squarely rejected all of Defendants’ arguments. In

particular, the Fourth Circuit found that: (1) Plaintiff did not challenge the entire

Aetna-Optum relationship, but only Defendants’ practice of improperly shifting

Optum’s administrative fees to the plans and their insureds; (2) being overcharged

on a single benefit claim was sufficient to establish injury, and that this “underlying

harm derives from the same common contention—that [Defendants’] fee-shifting

scheme breached the terms of the applicable Plan and constituted a breach of

fiduciary duty”; and that (3) this harm can be remedied through a disgorgement or

surcharge remedy, for both Plaintiff and her Plan, which can be determined from

Defendants’ own data and which does not require proof of individual injury result

from Aetna’s fiduciary duty violations.




                                          2
       Case 1:15-cv-00109-MR Document 256 Filed 09/01/21 Page 2 of 19
      In light of these holdings, the Fourth Circuit concluded that the denial of class

certification and granting of summary judgment were erroneous. It held that Plaintiff

had proven that the classes were ascertainable and that her claims presented at least

three important common questions that could be resolved through common

evidence. Although the Fourth Circuit remanded the class certification question back

to this Court for further consideration, it strongly implied that certification should

be granted since class members were subjected to identical conduct which impacted

them in an identical way, and that they are entitled to the same remedy (the

disgorgement of the amount by which Aetna had been unjustly enriched from the

overcharges) that can be calculated from Defendants’ own data. Any other result

would run afoul of the Fourth Circuit’s decision.

              PROCEDURAL HISTORY AND BACKGROUND

      On March 29, 2019, this Court denied class certification on two grounds. First,

it held that Plaintiff failed to satisfy the Rule 23(a) “commonality” requirement,

given the Court’s acceptance of Defendants’ argument that, “in the aggregate, the

Aetna-Optum contracts saved plans and their participants millions of dollars” and

that “many proposed class members would be worse off if their claims were

reassessed using the Plaintiff’s methodology of using only the Optum Downstream

Rates.” Dkt. No. 203 at 25 (emphasis in original). Second, and relatedly, the Court

held that Plaintiff failed to meet her burden of demonstrating that the proposed


                                          3
       Case 1:15-cv-00109-MR Document 256 Filed 09/01/21 Page 3 of 19
classes can be “readily identifiable” or “ascertainable,” because the Court would

have to engage in “a highly individualized inquiry of every plan, every participant

and every claim in those participants’ claims histories, taking into account each

participant’s deductible, copayments, coinsurance, and out-of-pocket maximum.”

Id. at 24-25 (emphasis in original). Thus, the Court denied class certification based

solely on its conclusion that the impact of Defendants’ scheme had to be calculated

on an individual basis, and that the only available remedy for Plaintiffs was a

reprocessing of the claims.

         On June 22, 2021, the Fourth Circuit vacated and remanded this Court’s denial

of class certification. Peters, 2 F.4th. at 244-45. The Fourth Circuit also reversed this

Court’s subsequent grant of summary judgment to Defendants. The Fourth Circuit

directed the Court to conduct a full reevaluation of Rule 23 in conformity with its

opinion. Id. Thus, an overview of the Fourth Circuit’s opinion is a natural place to

start.

         As the Fourth Circuit explained, Plaintiff was a member of a self-funded

health care plan (the “Plan”) operated by Mars, Inc. (“Mars”). Id. at 210. Mars hired

Aetna to be the Plan’s claims administrator and to provide a network of medical

providers. Id. In exchange for performing these tasks, Aetna was paid an

administrative fee by the Plan. Id. Aetna subsequently elected to hire Optum as a

subcontractor to fulfill part of Aetna’s obligations to the Plan and other Aetna plans,


                                           4
          Case 1:15-cv-00109-MR Document 256 Filed 09/01/21 Page 4 of 19
by providing a network of chiropractic and physical therapy providers and

processing claims from Optum’s so-called “downstream providers” to all Aetna plan

members. Id.

      In exchange for providing these services to Aetna, Optum was of course

entitled to be paid a fee. Id. But since it hired Optum to perform some (but not all)

of the same tasks that Aetna had already been paid by the plans to perform, Aetna

should have been responsible for paying Optum’s fee. Id. But Aetna did not want to

pay Optum’s fee out of its own pocket, so it requested that Optum “bury” its fee

within the claims submitted by Optum’s downstream providers. Id. Optum agreed,

although some employees exhibited concern. Id. at 211. Through this scheme, the

plans and their members, including Plaintiff and her Plan, paid Optum’s

administrative fee, on top of the administrative fee they had already paid Aetna. Id.

at 210.

      In order to carry out this objective, Defendants added “dummy codes” to the

explanation of benefits (“EOBs”) issued to Plaintiff and other class members. Id.

The “dummy codes” were Current Procedural Terminology (“CPT”) codes that were

improperly inserted into the EOBS. Id. at 234–35. The EOBs mischaracterized

Optum’s administrative fees as medical expenses in order to conceal the scheme

from plans and members. Id. at 210–11; 234–35. Defendants internally admitted that




                                         5
          Case 1:15-cv-00109-MR Document 256 Filed 09/01/21 Page 5 of 19
they were trying to “bury” these fees and that their conduct would not be looked

upon favorably if revealed. Id. at 210–11.

      The Fourth Circuit emphatically rejected Defendants’ mischaracterization of

Plaintiff’s claims as challenging the entire Aetna-Optum relationship. Id. at 230.

(“[T]hose actions are not the action subject to complaint.”). Rather, “Aetna’s

questionable construct to pay Optum’s administrative fee through the bundled rate

using the dummy CPT code to implement a fee-shifting scheme is the action subject

to complaint.” Id. at 230 (internal quotations and citations omitted).

      With this as a jumping off point, the Fourth Circuit systematically dismantled

Defendants’ remaining arguments, which this Court relied upon and adopted in

denying class certification. The Fourth Circuit rejected Defendants’ argument that

in determining injury, Plaintiff’s entire claims history had to be evaluated. It held

that Plaintiff “suffered a financial injury sufficient to establish an injury-in-fact for

the purpose of Article III standing,” because “the financial loss analysis must be

conducted at the individual claims level rather than at the aggregate claims level.”

Id. at 219. As the Fourth Circuit explained, Plaintiff proved that “combining

Optum’s administrative fee with the provider’s Negotiated Charge via the bundled

rate caused her to pay more on certain individual claims than she otherwise would

have had to pay under the Plan’s terms, therefore causing a financial injury,” and

therefore she sufficiently established Article III standing. Id. The Fourth Circuit


                                           6
       Case 1:15-cv-00109-MR Document 256 Filed 09/01/21 Page 6 of 19
made clear that an overcharge on a single benefit claim was enough. The Fourth

Circuit further held that even without financial injury, Plaintiff’s “allegations

revolving around breach of fiduciary duty would separately provide her standing to

pursue claims for surcharge, disgorgement, and declaratory and injunctive relief.”

Id.

       The Fourth Circuit also held that a reasonable factfinder could conclude that

Aetna was a fiduciary under ERISA, that Aetna breached its fiduciary duties under

ERISA by surreptitiously forcing Optum’s charges on members and plans, and that

Optum aided and abetted Aetna’s breach by acting as a party-in-interest. Id. at 231–

240.

       In addition, the Fourth Circuit unequivocally found that Plaintiff’s Plan did

not allow Optum’s administrative fees to be characterized as medical expenses. Id.

at 211–12 (the SPD “did not authorize the Plan or its participants to be charged

Optum’s administrative fee”); 232–33 (“the Plan prohibited non-medical charges,

including Optum’s administrative fee, from being charged back to the Plan and its

participants”). This conclusion was based largely on the fact that Plaintiff’s Plan

only covered medically necessary services offered by health care “providers.” Id. at

211. For in-network providers (such as Optum’s so-called “downstream providers”),

the plan did not cover amounts in excess of the negotiated charge that the network

provider had agreed to accept for its services. Id. Critically, as the Fourth Circuit


                                         7
        Case 1:15-cv-00109-MR Document 256 Filed 09/01/21 Page 7 of 19
held, Optum is not a network provider. Id. at 212 (“Optum is not a health care

provider or pharmacy”).

      With respect to remedy, the Fourth Circuit held that Plaintiff and her Plan

were entitled to the equitable remedy of disgorgement or surcharge and that these

remedies did not require reprocessing of claims or examination of her entire claims

history. Id. at 219–21, 238. Instead, all that was required was an order requiring

Aetna to disgorge the amount it saved by forcing Plaintiff and her plan to pay

Optum’s administrative fees. Id. at 220 (stating that Plaintiff seeks to remedy the

improper charges to her and her Plan by disgorging the “benefit accrued [by

Defendants], which Peters sufficiently demonstrates based on her claim that Aetna

bypassed its obligation to pay Optum’s administrative fee”). The Fourth Circuit

further held that the amount of such disgorgement could be easily calculated from

Defendants’ data, and that other equitable injunctive and declaratory relief might

also appropriate remedies. Id. at 217, 238, 242–43.

      Based upon these determinations, the Fourth Circuit reversed and remanded

this Court’s denial of class certification. As for commonality, the Fourth Circuit held

that there are at least three common issues of law and fact:

   1) Whether Aetna was a fiduciary;

   2) Whether it breached its duties to plans and plan participants by directing
      Optum to bury its administrative fee in the claims process; and



                                          8
       Case 1:15-cv-00109-MR Document 256 Filed 09/01/21 Page 8 of 19
   3) Whether its breach amounted to a harm as to the particular plan and plan
      participants.

Id. at 243. As for ascertainability, the Fourth Circuit held that:

   1) Even without personal financial injury, Peters has standing on behalf of
      herself and her Plan to seek a disgorgement or surcharge remedy under ERISA
      based on Aetna’s unjust enrichment derived from not having to pay Optum’s
      fees;

   2) The putative class members experienced the same harms that support Peters’
      entitlement to a disgorgement or surcharge remedy; and

   3) The putative class members who experienced the same harms as Peters, where
      they or their plan were improperly charged Optum’s administrative fees, are
      identifiable from Defendants’ own data.

Id. at 219–21, 242–43.

                                       ARGUMENT

   I.      THE FOURTH CIRCUIT’S DECISION STRONGLY SUGGESTS
           THAT THE CLASSES SHOULD BE CERTIFIED.

              a. Under the Fourth Circuit’s reasoning, Plaintiff
                 satisfied Rule 23(a)’s commonality requirement.

        In finding that Plaintiff failed to satisfy the commonality requirement of Rule

23, this Court relied on Defendants’ injury analysis that the Fourth Circuit expressly

rejected, namely, that when looking at the aggregate results of Aetna contracting

with Optum, the challenged conduct purportedly “did not harm – and in fact

benefited – some proposed class members.” Dkt. No. 203 at 25. The Fourth Circuit

held that such an “aggregate” evaluation was erroneous. See Peters, 2 F.4th at 243.

        The Fourth Circuit further rejected Defendants’ contention that the common

questions “cannot be answered with common evidence because of varying EOBs,

                                           9
         Case 1:15-cv-00109-MR Document 256 Filed 09/01/21 Page 9 of 19
plans, and damages.” As the Fourth Circuit explained, “[w]hile these distinctions

among proposed class members may affect the dollar amount or scope of the

available remedies, they do not reflexively defeat class certification when the

underlying harm derives from the same common contention—that Appellees’ fee-

shifting scheme breached the terms of the applicable Plan and constituted a breach

of fiduciary duty.” Id.

      As to any purported variance in plan terms, this Court previously recognized

that “[t]here does not appear to be any meaningful variation of these terms among

the plans.” See Sept. 6, 2018 Order (Dkt. No. 156) at 2 (referencing Plaintiff’s

summary exhibit of sample plans, which can be found at Dkt. No. 146-13).

Moreover, in the prior class certification briefing, Aetna failed to identify any

variations in written plan language that are material. See Dkt. No. 179 at 9-10.1 This

is largely because the plans define the “negotiated charge” to be the rate charged by

a “healthcare provider.” See Dkt. No. 146-13. Most importantly, the Fourth Circuit

agreed with Plaintiff that no reasonable person would understand Optum to be a

“healthcare provider.” Peters, 2 F.4th at 212 (“Optum is not a health care provider

…”); see also id. at 233–34 (plans are required “to be written in a manner calculated



1
 Aetna has already admitted that it uniformly “concluded that it did not need to
change plan terms to implement” the administrative fee scheme. Dkt. No. 172 at 8
n.1. Such a uniform conclusion would be unreasonable if there was significant
variance among the plans.

                                         10
       Case 1:15-cv-00109-MR Document 256 Filed 09/01/21 Page 10 of 19
to be understood by the average plan participant” and citing in support the amicus

brief of the American Medical Association and several state associations that it is

not reasonable to conclude that a subcontractor, such as Optum, is a medical

provider).

      As a result, although the Fourth Circuit remanded the commonality question

back to this Court, it affirmatively held that Plaintiff had proven that there are at

least three important common questions of law and fact that can be proven with

common evidence: (1) Whether Aetna was a fiduciary; (2) Whether it breached its

duties to plans and plan participants by directing Optum to bury its administrative

fee in the claims process; and (3) Whether its breach amounted to a harm as to the

particular plan and plan participants. Id. at 243.

             b. Under the Fourth Circuit’s reasoning, Plaintiff satisfied
                Rule 23(a)’s implicit ascertainability requirement.

      Just as was true for commonality, this Court’s ruling on ascertainability was

based entirely on Defendants’ misguided injury theory, which was rejected by the

Fourth Circuit. See id. at 242 (because “[t]he district court analyzed ascertainability

and commonality too rigidly” by “hing[ing] its lack-of-ascertainability

determination on its perception of Peters’ theory of financial injury, . . . the district

court’s basis for denying class certification as to surcharge, disgorgement, and

declaratory and injunctive relief was erroneous”). Indeed, the Fourth Circuit held

that “the proposed class members appeared to be objectively identifiable based on

                                           11
       Case 1:15-cv-00109-MR Document 256 Filed 09/01/21 Page 11 of 19
[Defendants]’ own data, as Peters identified 87,754 members who experienced a

scenario such as hers, where they (or their plan) were charged Optum’s

administrative fee. . . . . The district court’s narrow focus on ascertainability (i.e.,

only through the lens of Peters’ financial injury theory) constituted an abuse of

discretion . . .” Id. at 243–44. In other words, the Fourth Circuit’s analysis is

dispositive in its finding that ascertainability (and commonality) have already been

established.

               c. Under the Fourth Circuit’s reasoning, Plaintiff satisfied
                  Rule 23(a)’s typicality and adequacy requirements.

      In the prior briefing concerning typicality and adequacy, Defendants

contended that Plaintiff has a “conflict of interest” because some of the class

members and their plans could be injured from “[r]ecalculating benefits” based on

the complete claims history of class members and their plans. Dkt No. 172 at 30.

Thus, the basis for Defendants’ challenge was, once again, its theory that the Court

had to engage in an aggregate analysis of class members’ potential injury resulting

from Defendants’ actions, and that the only available remedy was reprocessing.

Although the Court did not previously reach this issue, it adopted Defendants’ theory

that entire claims histories were relevant and appeared to agree that this created a

possible conflict. See Dkt. No. 203 at 24 n. 5. The Fourth Circuit, however,

categorically rejected this entire notion.



                                             12
       Case 1:15-cv-00109-MR Document 256 Filed 09/01/21 Page 12 of 19
          The Fourth Circuit held that Plaintiff had standing to pursue her claims for

disgorgement or surcharge, and that reprocessing of claims and examination of her

entire claims history was not required:2

          Next, Peters asks that [Defendants] be made to disgorge any improper
          gains obtained from their breach of fiduciary duties. Unlike restitution’s
          focus on making the victim whole, “[d]isgorgement wrests ill-gotten
          gains from the hands of a wrongdoer. It is an equitable remedy meant
          to prevent the wrongdoer from enriching himself by his wrongs.
          Disgorgement does not aim to compensate the victims of the wrongful
          acts[.]” S.E.C. v. Huffman, 996 F.2d 800, 802 (5th Cir. 1993) (internal
          citations omitted). And looking to trust law, which provides valuable
          context to the ERISA scheme, disgorgement may be proper even if the
          breach of fiduciary duty is inadvertent or caused no loss to the trust
          beneficiary. Edmonson v. Lincoln Nat'l Life Ins. Co., 725 F.3d 406, 416
          n.5 (3d Cir. 2013); George G. Bogert et al., The Law of Trusts and
          Trustees § 862 (rev. 2d ed. June 2020 update) (“[A] rule of damages
          provides that a trustee is liable for any profit he has made through his
          breach of trust even though the trust has suffered no loss.”).

Peters, 2 F.4th at 217. See also id. at 220 (“[A] claim for surcharge under an unjust

enrichment theory requires no showing of financial injury, but rather a benefit

accrued by one or both of the [Defendants], which Peters sufficiently demonstrates

based on her claim that Aetna bypassed its obligation to pay Optum’s administrative

fee.”).




2
  For avoidance of doubt, in light of the Fourth Circuit’s decision, Plaintiff seeks
equitable relief solely in the form of disgorgement or surcharge for Defendants’
misconduct in the amount of Aetna’s unjust enrichment, as well as declaratory and
injunctive relief. Plaintiff does not seek a restitution remedy on a class-wide basis.

                                             13
          Case 1:15-cv-00109-MR Document 256 Filed 09/01/21 Page 13 of 19
      The Fourth Circuit also held that Plaintiff had standing to sue on behalf of her

Plan and to obtain those same equitable remedies for it:

      [E]ven without a personal financial injury, Peters has standing to
      maintain her claims for surcharge, disgorgement, and declaratory and
      injunctive relief based on her allegations of breach of fiduciary duty.

      That Peters is not only suing as an individual participant, but also on
      behalf of the Plan under § 502(a)(2) does not alter this conclusion.
      “Courts have recognized that a plaintiff with Article III standing may
      proceed under § [502](a)(2) on behalf of the plan or other participants.”
      Braden v. Wal-Mart Stores, Inc., 588 F.3d 585, 593 (8th Cir. 2009).
      And “[s]ince [Peters] has standing under Article III, we conclude that §
      [502](a)(2) provides h[er] a cause of action to seek relief for the entire
      Plan.” Id. Peters “has alleged injury in fact that is causally related to the
      conduct [s]he seeks to challenge on behalf of the Plan.” Id. In other
      words, Peters “has a personal stake in the litigation” because her
      requested relief “will stand or fall with that of the Plan.” Id.; see
      Wilmington Shipping Co., 496 F.3d at 335 (“[The plaintiff's] injury is
      no less concrete because the benefit to him from a favorable outcome
      in this litigation would derive from the restored financial health of the
      Plan.”).

Id. at 221.

      Against this backdrop, the Fourth Circuit strongly implied that Plaintiff is both

typical and adequate for purposes of pursuing her claims for other plan members.

Like all other class members, Plaintiff was forced to pay at least one overcharge as

a result of Defendants’ scheme. The same is true of Plaintiff’s Plan as compared to

class members’ plans. Moreover, the amount of these overcharges can be easily

calculated from Defendants’ own data, which proves the exact amount that Aetna

was unjustly enriched. See Dkt. No. 146-22 at 9–10.


                                           14
       Case 1:15-cv-00109-MR Document 256 Filed 09/01/21 Page 14 of 19
             d. Under the Fourth Circuit’s reasoning, the proposed
                classes should be certified under Rule 23(b).

      Plaintiff sought certification under Rule 23(b)(1) and/or (b)(3). The Fourth

Circuit’s decision strongly suggests that this request should have been granted.

      Under Rule 23(b)(3), class certification is appropriate where common

questions “predominate” over individual questions and where a class action is

“superior to other available methods for fairly and efficiently adjudicating the

controversy.” In the earlier briefing, Defendants only argued in a single paragraph

that these requirements had not been met, asserting simply that “resolving the absent

class members’ claims would require individualized inquiries into (at the very least)

each class member’s applicable plan language and complete claims experience.”

Dkt. No. 172 at 39. The Fourth Circuit’s decision demonstrates why this is wrong,

and why predominance and superiority are easily satisfied.

      As explained above, the Fourth Circuit categorically rejected Defendants’

argument that the “complete claims experience” of class members and plans needed

to be evaluated to determine injury or the amount of any surcharge or unjust

enrichment remedy. Peters, 2 F.4th at 219. It held that there were at least three

important common questions capable of resolution based on common evidence. Id.

at 243. It did not identify any individualized issues. Id. at 241–43. Certification under

(b)(3) is entirely appropriate.



                                           15
       Case 1:15-cv-00109-MR Document 256 Filed 09/01/21 Page 15 of 19
      If for some reason the Court disagrees, however, it should still certify under

(b)(1)(A). Predominance is not required under this subsection of Rule 23(b) and it

would be entirely appropriate given that “prosecuting separate actions by or against

individual class members” in this case “would create a risk of “inconsistent or

varying adjudications with respect to individual class members that would establish

incompatible standards of conduct for the party opposing the class.”

      The Fourth Circuit held that there was powerful evidence that Defendants

cannot pass Optum’s administrative fees on to Plaintiff or her Plan, and that she may

be entitled to injunctive and equitable relief. It did so based on facts and

considerations that are shared by all other class members.3 It would clearly be

untenable if some courts held that Aetna could not pass on the Optum administrative

fees to some plans and/or insureds, while others held that it could. Such conflicting

rulings would actually lead an ERISA violation by treating ERISA beneficiaries in

an inconsistent manner. See 29 CFR § 2560.503-1(b)(5) (“The claims procedures for

a plan will be deemed to be reasonable only if – (5) The claims procedures contain


3
  Defendants argued in their original opposition brief that the classes may not be
certified under Rule 23(b)(1) because Plaintiff is seeking “individualized monetary
relief,” Dkt No. 172 at 39. That argument is, yet again, based on the assumption that
Plaintiff seeks reprocessing in which the claims will be individually recalculated
without imposing excessive administrative fees. Instead, as the Fourth Circuit made
clear, the appropriate remedy that Plaintiff is seeking not individualized at all, but
class-wide equitable relief in the form of disgorgement or surcharge of the amount
by which Aetna was unjustly enriched by passing along the Optum administrative
fees it should have paid.

                                         16
       Case 1:15-cv-00109-MR Document 256 Filed 09/01/21 Page 16 of 19
administrative processes and safeguards designed to ensure and to verify that . . . the

plan provisions have been applied consistently with respect to similarly situated

claimants.”).

                                   CONCLUSION

      For the reasons set forth herein, and incorporating the reasons set forth in:

Plaintiff’s Motion for Class Certification (Dkt. No. 146) and the exhibits attached

thereto, Plaintiff’s Reply Brief in Support of her Motion for Class Certification (Dkt.

No. 179) and the exhibits attached thereto, and the Fourth Circuit’s decision styled

Peters v. Aetna, 2 F.4th 199 (4th Cir. 2021) vacating and remanding this Court’s

denial of class certification, the Court should grant class certification and direct class

notice within 14 days.




                                           17
       Case 1:15-cv-00109-MR Document 256 Filed 09/01/21 Page 17 of 19
Dated: September 1, 2021

                                    s/ Larry McDevitt
D. Brian Hufford*                   Larry McDevitt
Jason S. Cowart*                    David M. Wilkerson
Nell Z. Peyser*                     THE VAN WINKLE LAW FIRM
ZUCKERMAN SPAEDER LLP               11 North Market Street
485 Madison Avenue, 10th Floor      Asheville, NC 28801
New York, NY 10022                  (828) 258-2991
(212) 704-9600                      lmcdevitt@vwlawfirm.com
(212) 704-4256 (fax)
dbhufford@zuckerman.com

* pro hac vice                      Attorneys for Plaintiff Sandra M. Peters,
                                    on behalf of herself and all others
                                    similarly situated




                                   18
     Case 1:15-cv-00109-MR Document 256 Filed 09/01/21 Page 18 of 19
                          CERTIFICATE OF SERVICE

       I hereby certify that, on the 1st day of September, 2021, I electronically filed
the foregoing with the Clerk of Court using the CM/ECF System, which will send
notification via electronic means to the attorneys of record at that time.

                                               s/ Larry McDevitt
                                               Larry McDevitt




                                          19
       Case 1:15-cv-00109-MR Document 256 Filed 09/01/21 Page 19 of 19
